Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 1 of 17 Page|D# 419

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

ANTOINETTE MORRIS, et al.,
Plaintiffs,
v. Civil Action No. 3:17cv195
GENERAL INFORMATION
SERVICES, INC., et al.,
Defendants.
MEMORANDUM OPINION

 

This matter comes before the Court on Defendant United States Postal Service’s
(“USPS”) Motion to Dismiss. (ECF No. 10.) Plaintiffs Antoinette Morris and Jaylen Cotman
(“Plaintiffs”) responded and USPS replied. (ECF Nos. 21 , 23.) Accordingly, the matter is ripe
for disposition. The Court dispenses with oral argument because the materials before it
adequately present the facts and legal contentions, and argument would not aid the decisional
process. The Court exercises jurisdiction pursuant to 28 U.S.C. § 1331.l For' the reasons that

follow, the Court Will grant the Motion to Dismiss.

I. Factual and Procedural Background

A. Summar_'y of Allegations in the Complaint2
Plaintiffs each applied for positions With USPS in October 2014 and September 2015. As

part of its hiring process, USPS conducts background checks on applicants. In order to gain

 

1 “The district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. Plaintiffs’ Complaint
alleges violations of the Fair Credit Reporting Act (the “FCRA”), 15 U.S.C. §§ 1681a-x.

2 For purposes of the Motion to Dismiss, the Court Will assume the Well-pleaded factual
allegations in the Complaint to be true and will view them in the light most favorable to
Plaintiffs. Mylan Labs, Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993).

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 2 of 17 Page|D# 420

authorization to procure a background check, USPS provides applicants with Form 2181-A,
which the applicants sign and return. USPS provided both Plaintiffs With Form 2181-A, which
they signed and returned.3

Forrn 2181-A is a single page and contains seven paragraphs The first paragraph
consists of instructions detailing how to fill out the form and where to mail it once complete.
The second, titled “Privacy Act Statement,” states that “your information Will be used to
determine your suitability for employment,” indicates the federal statutes that authorize
collection of this information, explains that “[p]roviding this information is voluntary, but if it is
not provided you may not receive full consideration,” and lists the entities to which USPS may
disclose such information and under what circumstances (Am. Compl. Ex. 1, ECF No. 3-1.)
The third paragraph explains that the form constitutes the “consent and authorization” of the
applicant to “the disclosure or furnishing” of his or her records or information to individuals
within the government “as may be relevant and necessary for a determination of [her or his]
suitability for employment” with USPS. (Id. 1.) The fourth paragraph provides that the
applicant authorizes the disclosure of her or his information with the understanding that USPS
will take measures to protect such information against unauthorized disclosure

The fifth paragraph, a liability release, reads in full:

I hereby RELEASE the aforementioned persons, corporations, agencies,

associations and their employees, agents, and representatives from any and all

liability for damages resulting from a decision by the USPS not to employ me on

account of compliance, or any attempts at compliance with this authorization,

except for any damages resulting from knowingly providing false or misleading
information or records about me.

 

3 Plaintiffs attached Form 2181-A as an exhibit to the Complaint. (ECF No. 3-1.) The
Court will consider the exhibit because the document is central to the claims, is sufficiently

referred to in the Complaint, and neither party contests its authenticity See Wztthohn v. Fed. Ins.
Co., 164 F. App’x 395, 396_97 (4th Cir. 2006).

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 3 of 17 Page|D# 421

(ld. 1.) The sixth paragraph provides that a copy of the authorization is as Valid as the original
and that the authorization lasts for twelve months. Directly below the sixth paragraph is the
signature block. The seventh paragraph follows immediately below. It reads in full:
According to the Fair Credit Reporting Act (FCRA, 15 U.S.C. § 1681 et seq), l am
entitled to know if the considerations for which I am applying are denied because
of information obtained from a consumer reporting agency. If so, I will be notified
and be given the name of the agency providing that report.
(Id. 1.) Form 2181-A was the only document USPS provided to Plaintiffs that pertained to
criminal background checks.4 Shortly after Plaintiffs applied for employrnent, USPS, through

General lnformation Services, Inc. (“GIS”),5 procured background checks for each of them.

Plaintiffs bring the action on behalf of a proposed Class, defined as:

All natural persons residing in the United States (including all territories and other
political subdivisions of the United States), who (1) applied for an employment
position with USPS within the five years immediately preceding the filing of the
Complaint in this matter, (2) who executed a form substantially similar to form
2181-A as part of the USPS application process and (3) on whom the USPS
obtained a background report.

(Am. Comp1.1l 62, ECF No. 3.)

B. Procedural Histor_'y
Plaintift`s filed their First Amended Complaint, on behalf of themselves and all others

similarly situated, alleging that GIS (Count I) and USPS (Count II) willfully violated the FCRA

 

4 Plaintiffs attached to their Response to the Motion to Dismiss declarations of Cotman
and Morris. The Court will not consider the allegations made in either of these declarations to
the extent they seek to expand on or add to allegations in the Amended Complaint. See, e.g. ,
Katz v. 0din, Feldman & Pittleman, P.C., 332 F. Supp. 2d 909, 917 (E.D. Va. 2004) (“[I]t is . . .
‘axiomatic that a complaint may not be amended by the briefs in opposition to a motion to
dismiss.”’ (quoting Morgan Distrib. Co., Inc. v. Unidynamic Corp., 868 F.2d 992, 995 (8th Cir.
1989))).

5 In May 2017, Plaintiffs voluntarily dismissed GIS as a defendant The Court recounts
the relevant facts in the Complaint as to USPS only.

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 4 of 17 Page|D# 422

by failing “to provide a clear and conspicuous written disclosure in a document that consists
solely of the disclosure to Plaintiffs that a consumer report may be obtained about her [or him]
for employment purposes” and by thereby failing “to obtain from Plaintiffs a valid, written
authorization to procure a consumer report for employment purposes,” as required by 15 U.S.C.
§ l681b(b)(2)(A).6 (Am. Compl.1[ 4.) Plaintiffs seek declaratory relief, statutory damages,
punitive damages, and attorneys’ fees, litigation expenses, and costs.

On May l, 2017, Plaintiffs voluntarily dismissed GIS as a defendant Accordingly, only

Count II of the Amended Complaint remains USPS moved to dismiss Count II.

II. Legal Standard: Motion to Dismiss

In a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1) challenging the
Court’s subject-matter jurisdiction, the burden rests With the plaintiff, as the party asserting
jurisdiction, to prove that federal jurisdiction is proper. See Int ’l Longshoremen ’s Ass ’n v. Va.
Int'l Terminals, Inc., 914 F. Supp. 1335, 1338 (E.D. Va. 1996) (citing McNutt v. Gen. Motors

Acceptance Corp., 298 U.S. 178, 189 (1936); Adams v. Baz`n, 697 F.2d 1213, 1219 (4th Cir.

 

6 Section 1681b(b)(2)(A) provides in full:

Except as provided in subparagraph (B), a person may not procure a consumer
report, or cause a consumer report to be procured, for employment purposes with
respect to any consumer, unless_

(i) a clear and conspicuous disclosure has been made in writing to the
consumer at any time before the report is procured or caused to be procured,
in a document that consists solely of the disclosure, that a consumer report
may be obtained for employment purposes; and[,]

(ii) the consumer has authorized in writing (which authorization may be
made on the document referred to in clause (i)) the procurement of the report
by that person.

15 U.S.C. § 1681b(b)(2)(A) (emphasis added).

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 5 of 17 Page|D# 423

1982)). A motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) can attack subject-matter
jurisdiction in two ways. First, as here, a Rule 12(b)(1) motion may attack the complaint on its
face, asserting that the complaint fails to state a claim upon which subject-matter jurisdiction can
lie. See Int’l Longshoremen ’s Ass ’n, 914 F. Supp. at 1338; see also Adams, 697 F.2d at 1219. In
such a challenge, a court assumes the truth of the facts alleged by plaintiff, thereby functionally
affording the plaintiff the same procedural protection he or she would receive under Rule
12(b)(6)7 consideration See Int’l Longshoremen ’s Ass ’n, 914 F. Supp. at 1338; see also Adams,
697 F.2d at 1219.

A Rule 12(b)(1) motion may also challenge the existence of subject-matter jurisdiction in
fact, apart from the pleadings See Richmond, Frederz'cksburg & Potomac R.R. Co. v. United
States, 945 F.2d 765, 768 (4th Cir. 1991);1nt’l Longshoremen ’s Ass ’n, 914 F. Supp. at 1338; see
also Adams, 697 F.2d at 1219. ln such a case, because a party challenges the court’s “‘very
power to hear the case,”’ the trial court is free to weigh evidence to determine the existence of
jurisdiction, Im‘ ’l Longshoremen ’s Ass ’n, 914 F. Supp. at 1338 (quoting Mortensen v. First Fed.
Sav. & Loan Ass ’n, 549 F.2d 884, 891 (3d Cir. 1977)). No presumptive truthfulness attaches to
the plaintiffs allegations, and the existence of disputed material facts Will not preclude the trial
court from evaluating for itself the merits of jurisdictional claims. See Int ’l Longshoremen ’s

Ass ’n, 914 F. Supp. at 1338; see also Aa'ams, 697 F.2d at 1219.

 

7 “A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a complaint;
importantly, it does not resolve contests surrounding the facts, the merits of a claim, or the
applicability of defenses.” Republican Parly of N. C. v. Martin, 980 F.2d 943, 952 (4th Cir. 1992)
(citing 5A Charles A. Wright & Arthur R. Miller, F ederal Practz'ce and Procedure § 1356
(1990)). In considering a motion to dismiss for failure to state a claim, a plaintiffs well-pleaded
allegations are taken as true and the complaint is viewed in the light most favorable to the
plaintiff Mylan Labs., 7 F.3d at 1134; see also Martin, 980 F.2d at 952. This principle applies
only to factual allegations, however, and “a court considering a motion to dismiss can choose to
begin by identifying pleadings that, because they are no more than conclusions, are not entitled
to the assumption of truth.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 6 of 17 Page|D# 424

If the facts necessary to determine jurisdiction intertwine with the facts central to the
merits of the dispute, a court should find that jurisdiction exists and resolve any factual dispute
on the merits because the jurisdictional attack Would then closely mirror a challenge of the mer-
its. United States v. North Carolz'na, 180 F,3d 574, 580 (4th Cir. 1999); Adams, 697 F.2d
at 1219. A court need not examine jurisdiction in that manner when a plaintiff asserts the claim
solely for the purpose of obtaining jurisdiction, or when a plaintiff raises a wholly insubstantial
and frivolous claim. Bell v. Hood, 327 U.S. 678, 682_83 (1946).

III. Anal\§i_s: Motioi_i to Dismiss

USPS moves to dismiss Plaintiffs’ Amended Complaint, arguing that the Court lacks
subject-matter jurisdiction because, inter alia, Plaintiffs lack standing. USPS contends that
Plaintiffs fail to establish a concrete injury in fact. Plaintiffs assert that they have standing
because they have “suffered a concrete, in-fact injury that is directly traceable to [USPS’s]
conduct and that is likely to be redressed by a favorable decision here.” (Am. Compl. 11 47.) For
the reasons that follow, the Court finds that, as alleged, Plaintiffs lack standing because they have
failed to plead facts that can establish an injury in fact.8 The Court will, however, grant Plaintiffs

leave to amend their Complaint.

A. Legal Standard: Standing

1. The Three-Part Test Used to Evaluate Article III Standing

Article III, Section 2, clause 1 of the Constitution limits federal court jurisdiction to
“Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. l. As the Supreme Court for the

United States has explained, an “essential and unchanging part of the case-or-controversy

 

8 USPS also argues that the Court lacks subject-matter jurisdiction over Plaintiffs’ claims
because the FCRA does not waive the United States’ sovereign immunity. Because the Court
finds that Plaintiffs lack standing, the Court need not reach this question.

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 7 of 17 Page|D# 425

requirement” is that a plaintiff must establish Article III standing to sue. Lujan v. Defs. of
Wildlife, 504 U.S. 555, 560 (1992). In Spokeo, Inc. v. Robins, the Supreme Court reiterated that,
in order to establish standing, a plaintiff must have: “(l) suffered an injury in fact, (2) that is
fairly traceable to the challenged conduct of the defendant;[g] and[,] (3) that is likely to be
redressed by a favorable judicial decision.[l°]” 136 S. Ct. 1540, 1547 (2016) (citing Lujan, 504
U.S. at 560-61).

As the party invoking federal jurisdiction, Plaintiffs bear the burden of properly alleging
standing. Lujan, 504 U.S. at 560; see also Balzer & Assoc., Inc. v. Union Bank & Trust Co. ,
3:09cv273, 2009 WL 1675707, at *2 (E.D. Va. June 15, 2009) (“On a motion to dismiss pursuant
to Rule 12(b)(1), the party asserting jurisdiction has the burden of proving subject matter
jurisdiction.” (citing Potomac R.R., 945 F.2d at 768). “Where, as here, a case is at the pleading
stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each element.” Spokeo, 136 S.
Ct. at 1547 (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)). In a class action matter, courts
analyze standing “based on the allegations of personal injury made by the named plaintiffs.”
Beck v. McDonalcl, 848 F.3d 262, 269-70 (4th Cir. 2017). “‘Without a sufficient allegation of
harm to the named plaintiff in particular, plaintiffs cannot meet their burden of establishing

standing.”’ Ia'. at 270 (quoting Doe v. Obama, 631 F.3d 157, 160 (4th Cir. 2011)).

 

9 To show a causal connection, “the injury has to be ‘fairly . . . trace[able] to the
challenged action of the defendant, and not . . . th[e] result [of] the independent action of some
third party not before the court.”’ Lujan, 504 U.S. at 560 (quoting Simon v. E. Ky. Welfare Rights
Org., 426 U.S. 26, 41-42 (1976)).

10 A party may establish the third element of standing by showing “that the injury will be
[likely] ‘redressed by a favorable decision.”’ Lujan, 504 U.S. at 561 (quoting Simon, 426 U.S. at
38, 43). A plaintiff cannot have standing Where redressability of an injury is merely
“speculative.” Id.

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 8 of 17 Page|D# 426

2. Standard to Demonstrate an Inju§y in Fact

In Spokeo, the Supreme Court discussed the manner in which a plaintiff must allege
“injury in fact” in order to establish standing for what courts call a “statutory violation” resulting
in an “inforrnational injury.” The Supreme Court confirmed that, in order to establish an injury
in fact, a plaintiff must demonstrate that he or she suffered “‘an invasion of a legally protected
interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not conjectural or
hypothetical.”’ Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560). In doing so, the
Spokeo court refined standing law by defining “particularized” and “concrete” with specificity

Although not determinative of the outcome of this case, the Spokeo court first found that,

‘&6

for an injury to be particularized,’ it ‘must affect the plaintiff in a personal and individual
way.”’ Spokeo, 136 S.Ct. at 1548 (citing Lujan, 504 U.S. at 560 n.l). Thus, an
“undifferentiated, generalized grievance” that all citizens share would not qualify as
particularized Lance v. Co]j$nan, 549 U.S. 437, 442 (2007). “The fact that an injury may be
suffered by a large number of people does not of itself make that injury a nonjusticiable
generalized grievance.” Spokeo, 136 S. Ct. at 1548 n.7. The proper inquiry is whether “each
individual suffers a particularized harm.” Ia'.

Second, the Spokeo Court stated that for an injury to be “concrete,” it must be “de facto,”
meaning that it must be “real,” and not “abstract.” Spokeo, 136 S. Ct. at 1548 (quotation
omitted). That said, an injury need not be “tangible” in order to be “concrete.” Id. at 1549
(quotation omitted). An intangible injury may constitute injury in fact. Id. The Spokeo court
noted that even the risk of real harm might satisfy concreteness. ]d. In evaluating whether an
intangible injury satisfies the “concreteness” requirement, the Supreme Court reiterated two

important considerations: (1) history, which may reveal “whether an alleged intangible harm has

a close relationship to a harm that has traditionally been regarded as providing a basis for a

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 9 of 17 Page|D# 427

lawsuit in English or American courts”; and, (2) the judgment of Congress, which “‘has the
power to define injuries and articulate chains of causation that will give rise to a case or
controversy where none existed before.”’ Id. (quoting Lujan, 504 U.S. at 580 (Kennedy, J.,
concurring in part and concurring in judgment)).

With respect to this congressionally-defined, or statutory, standing, the Spokeo Court
explained: “Article lll standing requires a concrete injury even in the context of a statutory

violation.”ll Id. Thus, a plaintiff “could not, for example, allege a bare procedural violation,

 

ll Spokeo favorably discussed several cases that upheld congressional power to create a
legally cognizable right to specific information, the deprivation of which would constitute a
concrete injury sufficient to satisfy Article III. Many courts describe this statutory standing as
flowing from an “informational injury.” For instance, the Supreme Court explained in Federal
Election Commission v. Akins:

The “injury in fact” that respondents have suffered consists of their inability to
obtain information_[including donor lists and campaign-related contributions and
expenditures]. . . . There is no reason to doubt their claim that the information
would help them (and others to whom they would communicate it) to evaluate
candidates for public office . . . . Respondents’ injury consequently seems concrete
and particular. Indeed, this Court has previously held that a plaintiff suffers an
“injury in fact " when the plaintij' fails to obtain information which must be publicly
disclosed pursuant to a statute.

524 U.S. 11, 21 (1998) (citing Pub. Citizen v. Dep ’t of Justice, 491 U.S. 440, 449 (1989))
(emphasis added). In Public Citizen, relied on by Akz`ns, the Supreme Court held that two
advocacy organizations’ failure to obtain information subject to disclosure under the Federal
Advisory Committee Act “constitute[d] a sufficiently distinct injury to provide standing to sue.”
491 U.S. at 449.

Other pre-Spokeo Supreme Court cases confirm that the violation of a statutorily-
prescribed procedural right can constitute injury in fact in some circumstances See, e.g., Havens
Realty Corp. v. Coleman, 455 U.S. 363, 373-75 (1982) (finding that housing-discrimination
tester had standing to bring claims under the Fair Housing Act based on the “alleged injury to her
statutorily created right to truthful housing inforrnation,” even though the tester “may have
approached the real estate agent fully expecting that [s]he would receive false information, and
without any intention of buying or renting a home”); see also Doe v. Pub. Citizen, 749 F.3d 246,
263 (4th Cir. 2014) (“The Supreme Court consistently has held that a plaintiff suffers an Article
III injury when [she or] he is denied information that must be disclosed pursuant to a statute,
notwithstanding ‘ [t]he fact that other citizens or groups of citizens might make the same

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 10 of 17 Page|D# 428

divorced from any concrete harm, and satisfy the injury-in-fact requirement of Article III.” ld.
(citing Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009) (“[D]eprivation of a procedural
right without some concrete interest that is affected by the deprivation . . . is insufficient to create
Article III standing.”)). Regarding the FCRA, the Supreme Court noted that “not all inaccuracies
cause harm or present any material risk of harm.” Id. at 1550. By way of example, the Supreme
Court suggested that it would be “difficult to imagine how the dissemination of an incorrect zip
code, without more, could work any concrete harm.” Id.

The Court also observed that in cases in which “harms may be difficult to prove or
measure[,]” “the violation of a procedural right granted by statute can be sufficient . . . [and] a
plaintiff in such a case need not allege any additional harm beyond the one Congress has
identified.” Id. at 1549 (citing Akins, 524 U.S. at 20-25; Pub. Citizen, 491 U.S. at 449). A
plaintiff may therefore suffer “a concrete informational injury where [she or] he is denied access
to information required to be disclosed by statute, and [she or] he ‘suffers, by being denied
access to that information, the type of harm Congress sought to prevent by requiring
disclosure.”’ Dreher v. Experian Info. Sols., Inc., 856 F.3d 337, 345 (4th Cir. 2017)

(quoting Friends of Animals v. Jewell, 828 F.3d 989, 992 (D.C. Cir. 2016)). In such a situation,
an informational injury can become constitutionally cognizable when “a person lack[s] access to
information to which [she or] he is legally entitled and . . . the denial of that information creates
a ‘real’ harm with an adverse effect.” Id. at 345 (citing Spokeo, 136 S. Ct. at 1548; Akins, 524

U.s. ar 21).

 

complaint after unsuccessfully demanding disclosure.”’ (quoting Pub. Citizen v. Dep ’t of Justice,
491 U.S. at 449-50)).

10

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 11 of 17 Page|D# 429

B. Plaintiffs Fail to Plet_\@i£ts tl_rat Establish aggiurv in Fact

The Court must determine whether the facts Plaintiffs allege in support of their claim for
a violation of 15 U.S.C. § 1681b(b)(2)(A) amount to an “‘invasion of a legally protected interest’
that is ‘concrete and particularized.”’ Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at
560). As explained below, the Court concludes that Plaintiffs’ factual allegations do not currently
satisfy Spokeo’s refined injury-in-fact requirement because Plaintiffs allege no concrete harm.

Plaintiffs assert that they suffered two distinct injuries: (1) “USPS failed to provide
Plaintiffs with a stand-alone disclosure before procuring Plaintifi`s’ criminal background checks
from GIS, violating 15 U.S.C. § l681b(b)(2),” and depriving them “of information to which they
are statutorily entitled”; and, (2) Plaintiffs “had their privacy illegally violated” when USPS
procured their background checks, because USPS had no valid authorization to do so. (Am.
Compl. j|jl 23, 30.)

In evaluating whether an intangible injury satisfies the “concreteness” requirement, this
Court must look to the common law and to the judgment of Congress.12 Spokeo, 136 S. Ct. at
1549. Plaintiii`s do not identify an analogous common-law inj ury, and both parties focus their
arguments on the judgment of Congress The Court will also focus its analysis on the

congressional intent of the FCRA and its “stand-alone” disclosure requirement, Because

 

12 The Court must, of course, undertake this analysis because of the procedural nature of
the statutory violation Plaintiffs assert. As discussed, in evaluating whether an intangible injury
satisfies the “concreteness” requirement, the Supreme Court has identified two important
considerations: (1) history, which may reveal “whether an alleged intangible harm has a close
relationship to a harm that has traditionally been regarded as providing a basis for a lawsuit in
English or American courts”; and, (2) the judgment of Congress, which “‘has the power to define
injuries and articulate chains of causation that will give rise to a case or controversy where none
existed before.”’ Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 580 (Kennedy, J.,
concurring in part and concurring in judgment)). The Court therefore considers the purpose of
the FCRA to determine whether Plaintiffs have alleged a kind of harm that Congress sought to
prevent.

11

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 12 of 17 Page|D# 430

Plaintiii`s do not allege facts that bring their purported injury within the ambit of injuries
Congress sought to prevent in passing § 1681b(b)(2), Plaintiffs fail to plead facts that establish
an injury in fact.
1. The P\_lrpose of the FCRA Ge_rgrllly

A central purpose of the FCRA is “to ensure ‘fair and accurate credit reporting,”’ Spokeo,
136 S. Ct. at 1545 (quoting 15 U.S.C. § 1681(a)(1)), and to “‘promote efficiency in the banking
system, and protect consumer privacy,’” Dreher, 856 F.3d at 346 (quoting Safeco Ins. Co. of Am.
v. Burr, 551 U.S. 47, 52 (2007)). Through the FCRA, “Congress plainly sought to curb the
dissemination of false information by adopting procedures designed to decrease that risk.”
Spokeo, 136 S. Ct. at 1550. “Congress intended that the FCRA be construed to promote the
credit industry’s responsible dissemination of accurate and relevant information and to maintain
the confidentiality of consumer reports.” Thomas v. FTS USA, LLC, 193 F.Supp.3d 623, 633
(E.D. Va. June 30, 2016).

2. The Pur ose of 15 U.S.C. 1681b b 2 A

As the Senate noted while passing § 1681b(b)(2)(A), that section

permits employers to obtain consumer reports pertaining to current and prospective

employees The Committee is concerned, however, that this provision may create

an improper invasion of privacy. Section 403 of this bill requires that employers

provide prior Written disclosure to current and prospective employees that their

consumer reports may be procured in connection with their employment Further,

employers must obtain a specific or general written authorization prior to procuring

such a report.
S. REP. NO. 104-185 at 35 (1995). F rom this statement, and a commonsense reading of the
statute’s plain language, one purpose of the “stand-alone” provision is to make the disclosure
authorizing the background check obvious to the applicant. In other words, through

§ 1681b(b)(1), Congress sought to prevent employers from hiding the required disclosure among

other provisions that could distract the applicant from the disclosure itself, and thereby result in

12

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 13 of 17 Page|D# 431

the applicant unknowingly authorizing an employer to obtain his or her background check. See
Groshek v. Time Warner Cable, Inc., 865 F.3d 884, 887 (7th Cir. 2017), cert. denied, 138 S. Ct.
740 (2018) (concluding that the “stand-alone” disclosure requirement “is clearly designed to
decrease the risk of a job applicant unknowingly providing consent to the dissemination of his or
her private information”); Shoots v. iQor Holdings US Inc., No. 15-CV-563, 2016 WL 6090723,
at *7 (D. Minn. Oct. 18, 2016) (concluding that the “stand-alone” disclosure requirement is

“(1) to make clear to prospective employees that a consumer report might be obtained, and[,]

(2) prevent that disclosure from being hidden among other, innocuous provisions”).

As one court has suggested, “[t]he goal of the stand-alone requirement is a substantive
ones to ensure that certain information is in fact conveyed clearly to job applicants The means
chosen to implement that goal” speak to procedure: the stand-alone disclosure requirement
“prescribes the physical format that the disclosure must take.” In re Michaels Stores, Inc., Fair
Credit Reporting/let (FCRA) Litig., No. 2615, 2017 WL 354023, at *6 (D.N.J. Jan. 24, 2017).
Thus, a harm Congress sought to prevent with § 1681b(b)(2)(A) was employers obtaining
background checks from applicants who did not knowingly consent, which, Congress
determined, would invade their privacy. The requirement that the disclosure is “clear and
conspicuous” furthers this goal. The “stand-alone” requirement is one means Congress deemed
necessary to ensure that the disclosure was in fact “clear and conspicuous.” But an essential
purpose of the section included ensuring that an applicant in fact knowingly consented to the
employer accessing the applicant’s private information through a background check.

'l`herefore, a job applicant could more readily demonstrate a sufficiently concrete injury

if, for example, an employer failed to include a stand-alone disclosure, and the applicant signed

13

Case 3:17-cv-00195-I\/|HL Document 35 Filed 09/25/18 Page 14 of 17 Page|D# 432

the disclosure not knowing that he or she was thereby authorizing the employer to obtain his or
her background check.

3. Plaintiffs Do Not Allege that They Suffered the
flype of Harm Congress Sought to Prevent

Plaintiffs do not plead facts supporting a reasonable inference that they suffered the
“‘type of harm Congress sought to prevent by requiring disclosure.’” Dreher, 856 F.3d at 345
(quoting Jewell, 828 F.3d at 992). Plaintiffs do not allege that they were deprived of any
statutorily-required information, Instead, they correctly assert that the format of the information
facially violated the FCRA. Plaintiffs also never claim that they were confused or distracted by
the “extraneous” information included on the page when they read Fonn 2181-A. Nor do
Plaintiffs contend that the disclosure was not “clear” to them or that it was not
“conspicuous,” as required by 15 U.S.C. § 1681b(b)(2)(A)(i).13 Next, Plaintiffs do not allege

that any of the extraneous information confused them or prevented them from fully

 

13 Plaintiffs allege that:

instead of being a clear and conspicuous disclosure contained in a stand-alone
document, [Form 2181-A] attempts to eviscerate the consumer’s right to statutory
legal remedies when the FCRA is violated. The liability waiver language attempts
to take clear advantage of the use of consumer information, leaving consumers with
no legal power over the CRA, the information generated by the CRA, or how the
information is potentially used against the consumer.

(Am. Compl. 11 40.) This, of course, is a legal conclusion not entitled to the assumption of truth.
See Mylan Labs., 7 F.3d at 1134.

Although the Court views the facts alleged in the Complaint in the light most favorable to
the plaintiff on this Rule 12(b)(1) Motion to Dismiss, Plaintiffs allege no facts supporting even
an inference that Morris or Cotman believed that the liability Waiver divested them of the legal
power to vindicate their rights under the FCRA. Nor does the Complaint contain any allegation
that the liability waiver or any of the other allegedly “extraneous” information on Form 2181 -A
confused Plaintiffs

Due to the paucity of factual allegations in the Complaint about how Plaintiffs themselves
were affected by the formatting of Forrn 2181-A, the Court cannot reasonably infer that the
“extraneous” information on Form 2181-A rendered the disclosure unclear or inconspicuous to
Plaintiffs Nor can the Court view these allegations unfavorably or against Plaintiffs by making

14

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 15 of 17 Page|D# 433

understanding the fonn.14 Moreover, Plaintiffs do not allege that they would not have signed
Form 2181-A or given their authorization to USPS to conduct a background check had the
“extraneous” information not been there. Finally, Plaintiffs do not allege they were not confused,
a negative inference which the Court declines to make when it must view all well-pleaded
allegations in the light most favorable to Plaintiffs See Mylan Labs, 7 F.3d at 1134.

The only factual allegations Plaintiffs plead regarding Forrn 2181-A are the contents of
the form itself, that Plaintiffs signed it, and that USPS therefore ran background checks on
Plaintiffs.15 Plaintiffs have failed to allege that they were either unaware of the disclosure or

uncertain of its meaning, which are among the harms Congress sought to prevent in passing

 

the negative inference that Plaintiffs did not believe that the liability Waiver divested them of
their FCRA rights Id.

14 Plaintiffs allege that “[t]he inclusion of a purported liability release in Forrn 2181-A
would cause a reasonable person to believe they had experienced a change in legal position as a
result of consenting to a liability waiver.” (Am. Compl. 11 31 (emphasis added).) Plaintiffs then
cite a handful of empirical studies for the broad propositions that “consumers were less likely to
seek redress for their injuries if they signed a contract that included an exculpatory clause, even
though the clause would likely be found unenforceable” and “consurners generally believe that
exculpatory provisions are enforceable, even if they are clearly not, they are likely to seek less_
if any-recompense for their injuries when businesses include these terms in contracts of
adhesion.” (Am. Compl. 1[1[ 32-34.)

Neither Plaintiffs’ allegations about what a reasonable person would believe nor general
research findings-however accurate or persuasive_can substitute for factual allegations about
the specific harm Plaintiffs suff`ered. To establish standing, Plaintiffs must show that the injury
they allege is “particularized,” to them, meaning it “‘must affect [them] in a personal and
individual way.”’ Spokeo, 136 S.Ct. at 1548 (citing Lujan, 504 U.S. at 560 n.l); see also Beck,
848 F.3d at 269-70. General allegations about a hypothetical “reasonable person” cannot alone
confer standing on these Plaintiffs before this Court.

15 In its Motion to Dismiss, USPS represents that the Plaintiffs’ background checks
accurately showed that they had no criminal history and that Plaintiffs were hired for the jobs for
which they had applied. The Court does not consider these facts in ruling on the Motion to
Dismiss and relies only on Plaintiffs’ well-pleaded factual allegations See Martz'n, 980 F.2d at
952 (“A motion to dismiss under Rule 12(b)(6) [which applies to this Rule 12(b)(1) Motion to
Dismiss] tests the sufficiency of a complaint; importantly, it does not resolve contests
surrounding the facts, the merits of a claim, or the applicability of defenses.” (citing 5A Charles
A. Wright & Arthur R. Miller, F ederal Practice and Procedure § 1356 (1990))).

15

Case 3:17-cV-00195-I\/|HL Document 35 Filed 09/25/18 Page 16 of 17 Page|D# 434

§ 1681b(b)(2)(A), Accordingly, the Court cannot find on the facts as pled that the Plaintiffs have
alleged any “‘real’ harm with an adverse eff`ect” flowing from the alleged violation.16

To be clear, the Court does not foreclose the possibility that failure to comply with the
“stand-alone” disclosure requirement could in some cases rise to the level of an injury sufficient
to confer standing. Indeed, the plain language of § 1681b(b)(2) requires that an employer
provide a disclosure “in a document that consists solely of the disclosure.” 15 U.S.C.
§ 1681b(b)(2)(A)(i). Perhaps even a single additional factual allegation showing that Plaintiffs

suffered the sort of harm Congress was seeking to prevent might suffice to establish standing17

 

16 Plaintiffs also contend that “because third party providers of information such as GIS
would also likely believe that an exculpatory clause is enforceable, such a provision may induce
these sources to be less careful in their provision of information, thereby magnifying the danger
that an employer will make decisions based on incomplete or inaccurate information.” (Am.
Compl. 11 35 .) However, Plaintiffs have pled no facts supporting the existence of this “likely”
belief. Plaintiffs’ passing conjecture, without facts supporting it, is “‘hypothetical”’ and does not
establish an injury in fact. Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560).

17 Plaintiffs rely heavily on Thomas, 193 F. Supp. 3d 623, in which the Court found that
the plaintiff, Thomas, could establish standing for a violation of § 1681b(b)(2)(A). Thomas,
however, does not control here because Thomas alleged factual allegations from Which the court
there could infer actual harm-he alleged not only that he did not receive a disclosure in a
“stand-alone” format, as Plaintiffs do here, but that he never received a written disclosure at all.
Id. at 628. Moreover, Thomas alleged that his background check contained numerous felony
convictions incorrectly attributed to him and that he Was denied continued employment as a
result. Id. Thomas’ failure to receive a written disclosure prevented him from correcting
inaccurate information on his credit report, which the Thomas court concluded was an animating
purpose of the FCRA. Id. at 633. Here, the Plaintiffs allege no facts supporting an inference that
they suffered the sort of injury Congress sought to prevent when it enacted § 1681b(b)(2), To the
extent Plaintiffs rely on a different type of harm Congress sought to prevent, they do not plainly
allege what that harm is

Plaintifi`s’ citations to a handful of other out-of-circuit cases also fail to persuade for the
same reasons See Demmings v. KKW Trucking, Inc., No. 3:14-CV-494-SI, 2017 WL 1170856
(D. Or. Mar. 29, 2017); Mix v. Asurion Ins. Servs. Inc. , No. CV-14-023 57-PI-lX-GMS, 2016 WL
7229140 (D. Ariz. Dec. 14, 2016); Graham v. Pyramid Healthcare Sols., Inc., No. 8:16-CV-
1324-T-30AAS, 2016 WL 6248309 (M.D. Fla. Oct. 26, 2016); Reardon v. ClosetMaid Corp., No.
2:08-CV-01730, 2013 WL 6231606 (W.D. Pa. Dec. 2, 2013). In all of these cases, the plaintiffs
alleged that their background checks contained incorrect information, they were not hired for the
positions for Which they applied, or both.

16

Case 3:17-cv-00195-I\/|HL Document 35 Filed 09/25/18 Page 17 of 17 Page|D# 435

But if Plaintiffs seek to proceed on a case in which they affirmatively state they suffered no
confusion or harm, they must do so unequivocally or at least directly. This Court, viewing the
well-pleaded facts favorably to Plaintiff`s, cannot make this unfavorable inference The Court
therefore concludes that Plaintiffs’ spartan allegations as to the effects they experienced from
USPS’ failure to comply with the stand-alone disclosure requirement cannot establish standing
IV. Conclusion

For the foregoing reasons, the Court will grant the Motion to Dismiss However, in part
because of the most recent enunciation of standing law in this Circuit, see Dreher, 856 F.3d 337,
the Court will grant Plaintiffs leave to amend their complaint

An appropriate Order shall issue.

    
 

MH

23 g United Sta sDis Judge
Date: q / /

Richmond, Virginia

17

